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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           LEONARDO NUNEZ-                           :     MOTION TO VACATE
           VIRRAIZABAL,                              :     28 U.S.C. § 2255
               Movant,                               :
                                                     :     CRIMINAL INDICTMENT NO.
                 v.                                  :     1:03-CR-0493-ODE-AJB-3
                                                     :
           UNITED STATES OF AMERICA,                 :     CIVIL FILE NO.
               Respondent.                           :     1:10-CV-0293-ODE-AJB

              ORDER FOR SERVICE OF REPORT AND RECOMMENDATION OF
                        UNITED STATES MAGISTRATE JUDGE

                 Attached is the Report and Recommendation of the United States Magistrate

           Judge, made in accordance with 28 U.S.C. § 636(b)(1) and this Court’s Local Rule 72.

           Let the same be filed and a copy, together with a copy of this Order, be served upon

           counsel for the parties and upon any unrepresented parties.

                 Within fourteen (14) days of service of this Order, a party may file written

           objections, if any, to the Report and Recommendation. See 28 U.S.C. § 636(b)(1)(C).

           Should objections be filed, they shall specify with particularity the alleged error or

           errors made (including reference by page number to the transcript if applicable) and

           shall be served upon the opposing party. The party filing objections will be responsible

           for obtaining and filing the transcript of any evidentiary hearing for review by the

           District Court. If no objections are filed, the Report and Recommendation may be


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           adopted as the opinion and order of the District Court and any appellate review of

           factual findings will be limited to a plain error review. Resolution Trust Corp. v.

           Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993); United States v. Slay,

           714 F.2d 1093, 1095 (11th Cir. 1983).

                 The Clerk is DIRECTED to submit the Report and Recommendation with

           objections, if any, to the District Court after expiration of the above time period.

                 IT IS SO ORDERED, this 26th day of April, 2012.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE




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           VIRRAIZABAL,                                :     28 U.S.C. § 2255
               Movant,                                 :
                                                       :     CRIMINAL INDICTMENT NO.
                 v.                                    :     1:03-CR-0493-ODE-AJB-3
                                                       :
           UNITED STATES OF AMERICA,                   :     CIVIL FILE NO.
               Respondent.                             :     1:10-CV-0293-ODE-AJB

                         UNITED STATES MAGISTRATE JUDGE’S ORDER
                         AND FINAL REPORT AND RECOMMENDATION

                 The    matter    is   before    the       Court   on   Movant’s   post-judgment

           Fed. R. Civ. P. 60(b)(4) motion, [Doc. 2454], and his motion to require the government

           to respond, [Doc. 2460]. Movant’s Rule 60(b) motion is due to be dismissed as an

           impermissible attempt to bring a successive 28 U.S.C. § 2255 motion without

           authorization from the Eleventh Circuit Court of Appeals, and his motion to require the

           government to respond is due to be denied as moot.

                 Movant is serving a 250-month term of imprisonment on his drug conspiracy

           conviction in this Court. [Doc. 2166.] In February 2010, Movant filed a 28 U.S.C.

           § 2255 motion, which the Court denied on June 28, 2010. [Docs. 2260, 2324.] In

           November 2011, Movant filed his Rule 60(b) motion, in which he asserts that the

           government failed to prove the elements for a drug conspiracy and that the Court lacked


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           authority to sentence him. [Doc. 2454 at 2-9.] Movant contends that his Rule 60(b)

           motion is not a successive § 2255 motion because he challenges the “judgement of the

           Court.” [Id. at 1-2.]1

                 Generally, a federal prisoner must use 28 U.S.C. § 2255 to challenge his federal

           conviction and sentence. After bringing one collateral attack under § 2255, a prisoner

           may not bring a second or successive attack unless he first obtains certification from

           the appropriate court of appeals, here, the Eleventh Circuit Court of Appeals. See

           28 U.S.C. § 2255(h). “Federal Rule of Civil Procedure 60 provides a basis, but only

           a limited basis, for a party to seek relief from a final judgment in a habeas [or § 2255]

           case.” Williams v. Chatman, 510 F.3d 1290, 1293 (11th Cir. 2007) (discussing

           Gonzalez v. Crosby, 545 U.S. 524 (2005)); Gilbert v. United States, 640 F.3d 1293,

           1323 (11th Cir. 2011) (“We join every other circuit that has addressed the issue in

           concluding that the standard announced in Gonzalez applies to federal prisoner cases

           as well.”), cert. denied, _ U.S. _, 132 S Ct. 1001 (2012). Rule 60(b) may not be used

           to “circumvent” the restrictions on successive § 2255 motions.            Zakrzewski v.


                 1
                        Movant cites Abdur’Rahman v. Bell, 537 U.S. 88 (2002), to support his
           argument that his Rule 60(b) motion is not a successive § 2255 motion. The court in
           Abdur’Rahman, however, dismissed the writ of certiorari as improvidently granted in
           that case, and the only associated opinion is a dissent, which is not binding authority.

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           McDonough, 490 F.3d 1264, 1267 (11th Cir. 2007) (citing Gonzalez, 545 U.S. 524). A

           Rule 60(b) motion that attacks the underlying criminal conviction or sentence on the

           merits must be treated as a successive attempt at collateral review under § 2255, and it

           must be dismissed when the movant has not complied with § 2255(h)’s certification

           requirement. Gonzalez, 545 U.S. at 538 (A Rule 60(b) motion is not a “successive

           habeas petition if it does not assert, or reassert, claims of error in the movant’s

           [underlying] conviction.”); Gilbert, 640 F.3d at 1323 (discussing Gonzalez and stating

           that a motion that asserts or reasserts a claim for relief from the underlying criminal

           judgment, “instead of pointing out a defect in the integrity of the earlier § 2255 motion

           proceeding in his case, . . . is the equivalent of a second or successive motion and is

           barred by § 2255(h).”).

                 Movant’s attack on his underlying criminal conviction via a Rule 60(b) motion

           is improper. The challenges that Movant brings must be brought in a § 2255 motion,

           and because Movant has already filed and been denied one § 2255 motion, he must

           obtain certification from the Eleventh Circuit Court of Appeals to bring a second or

           successive § 2255 motion in this Court. Because Movant has not obtained the required

           certification to file a successive petition, his Rule 60(b) motion must be dismissed.

           Also, since this procedural ruling is not debatable, a certificate of appealability

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           (“COA”) should be denied. See Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009)

           (“ ‘When the district court denies a habeas petition on procedural grounds without

           reaching the prisoner’s underlying constitutional claim,’ . . . a certificate of

           appealability should issue only when the prisoner shows both ‘that jurists of reason

           would find it debatable whether the petition states a valid claim of the denial of a

           constitutional right and that jurists of reason would find it debatable whether the district

           court was correct in its procedural ruling.’ ” (quoting Slack v. McDaniel, 529 U.S. 473,

           484 (2000))).

                 For the reasons stated above,

                 IT IS RECOMMENDED that Movant’s post-judgment Fed. R. Civ. P. 60(b)(4)

           motion, [Doc. 2454], and a COA be DENIED. Further, the Movant’s motion to require

           the government to respond, [Doc. 2460], is DENIED as moot. Finally, the Clerk is

           DIRECTED to terminate the referral to the undersigned.

                 IT IS SO RECOMMENDED, ORDERED and DIRECTED, this 26th day of

           April, 2012.




                                                    ALAN J. BAVERMAN
                                                    UNITED STATES MAGISTRATE JUDGE

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